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UNITED STATES DISTRICT COURT
BASTERN DISTRICT OF WASHINGTON COUNTY

RUSSELL DUANE McNEIL,

 

)
)

Petitioner, } NO. CV-13-3065-CI
)

vs. ) MOTTON TO STAY AND ABATE

)
MAGGTE MILLER-STOUT, )
)
Respondent. )
)
MOTION

Petitioner Russell Duane McNeil, through his attorney
Lenell Nussbaum, moves this Court for an order staying the
consideration of his habeas petition pending the disposition in
Washington State courts of his personal restraint petition
(PRP) raising a claim under Miller v. Alabama, 132 S. Ct. 2455,
183 L. Ed. 2d 407 (2012).

FACTS RELEVANT TO MOTION

Mr. McNeil, a Washington State prisoner, filed on June 25,
2013, a petition under 28 U.S.C. § 2254. Mr. McNeil, who was
17 at the time of the murders leading to his imprisonment, is
serving a mandatory sentence of life without the possibility of

parole (LWOP) for aggravated first degree murder. Both the

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Washington State courts and the Ninth Circuit previously
rejected arguments that mandatory LWOP sentences imposed for
acts committed as juveniles violated the 8th Amendment. In re
Boot (State v. Cornejo), 130 Wn.2d 553, 925 P.2d 964 (1996);
State v. Massey, 60 Wn. App. 131, 803 P.2d 340 (1990), review
denied, 115 Wn.2d 1021, 802 P.2d 126 (1990), cert. denied, 499
U.S. 960 (1991); State v. Stevenson, 55 Wn. App. 725, 737-38,
780 P.2d 873 (1989), review denied, 113 Wn.2d 1040, 785 P.2d
827 (1990); Harris v. Wright, 93 F.3d 581 (9th Cir. 1996).

On June 25, 2012, the United States Supreme Court issued
the decision in Miller v. Alabama, 132 S. Ct. 2455, 183 L. Ed.
2d 407 (2012), for the first time holding that the mandatory
imposition of an LWOP sentence for a murder committed as a
juvenile violates the Eighth and Fourteenth Amendments. On
July 23, 2012, Mr. McNeil filed a PRP in the Washington Supreme
Court, case number 87654-1, challenging his sentence. On June
4, 2013, the Washington Supreme Court ordered that his PRP be
set for oral argument and counsel be appointed. Argument has
not yet been scheduled, but is to be set during the fall of
2013.

ARGUMENT

A. THE STAY AND ABATE PROCEDURE IS APPROPRIATE IN THIS
CASE.

As noted in his § 2254 petition, Mr. McNeil maintains his

petition is timely under 28 U.S.C. § 2244(d) (i) (C), which

 

 

 

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permits a petition to be filed within one year of
the date on which the constitutional right asserted
was initially recognized by the Supreme Court, if

the right has been newly recognized by the Supreme
Court and made retroactively applicable to cases on

collateral review.

Under this provision, the time limit runs from the date the
right was recognized, rather than from the date that it is
found to apply retroactively. Dodd v. United States, 545 U.S.
353 (2005). Miller newly recognized the right to an
individualized consideration of a sentence less than LWOP for
a murder committed when the defendant was under 18. As
discussed below, Miller should apply retroactively and several
courts have so held. This Court is free to determine whether
Miller applies retroactively.+ See, e.g., Howard v. United
States, 374 F.3d 1068 (government concedes that circuit court
is free to decide whether Alabama v. Shelton, 535 U.S. 654
(2002) applies retroactively; Court rules that it does and
therefore finds petition timely); Breese v. Maloney, 322 F.
Supp. 2d 109, 114 (D. Mass. 2004) (for purposes of (d) (1) (C) "a
district court has the authority to decide whether a Supreme

Court case should apply retroactively on collateral review") ;

 

4 The same is not true under 28 U.S.C. § 2244 (b) (2) (A)
which expressly requires a finding of retroactivity by the U.S.
Supreme Court as a gateway to a successive petition. Because
of the difference in language between the two statutes, "every
Circuit to have addressed the issue" has assumed that there is
no such limitation under 8 2244(d)(1L} (Cc). Dodd at 365, n.4
(Stevens, J., dissenting).

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Stayton v. United States, 766 F. Supp. 2d 1260, 1265-66 (M.D.
Alabama, 2011) (finding Skilling v. United States, 130 S. Ct.
2896 (2010) to apply retroactively, and therefore concluding
that motion is timely) .?

28 U.S.C. § 2254({b) (1) prevents relief "unless it appears
that (A) the applicant has exhausted the remedies available in
the court of the State." "The Supreme Court adopted a rule of
‘total exhaustion,’ requiring that all claims in a habeas
petition be exhausted before a federal court can act on the
petition." Jackson v. Roe, 425 F.3d 654, 658 (9th Cir. 2005),
citing Rose v. Lundy, 455 U.S. 509, 522 (1982). Arguably, Mr.
McNeil’s claim is not yet fully exhausted. It certainly would
be preferable to obtain a ruling from the Washington Supreme
Court before proceeding to federal habeas.

It may appear unnecessary to file a federal petition at
this time because a "properly filed" state postconviction
petition tolls the federal statute of limitations. See 28
U.S.C. § 2244(d) (2). Because Mr. McNeil filed his PRP last
July, he should have about eleven months to file a habeas

petition if and when his PRP is ultimately denied.

 

2 Some of these cases involve motions under 28 U.S.C.
§ 2255 rather than under § 2254. The relevant language of the
time limit is identical, however, and it does not appear that
any court has found that the corresponding provisions should be
construed differently. Compare 28 U.S.C. § 2255(f) (3) and 28
U.S.C. § 2244 (d) (1) (Cc).

 

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Unfortunately, he cannot count on his PRP being considered
"properly filed." In Pace v. DiGuglielmo, 544 U.S. 408 (2005),
the U.S. Supreme Court held that a postconviction petition is
not properly filed if the state courts ultimately determine it
to be untimely, even if the petitioner relied on an arguable
exception to the state’s statute of limitations.

Mr. McNeil believes his petition is timely for two
reasons: Washington’s statute of limitations does not apply to
a judgment that is not valid on its face, RCW 10.73.090; or if
there is a “significant change in the law ... which is material
to the sentence" and a court "determines that sufficient
reasons exist to require retroactive application of the changed
legal standard." RCW 10.73.100(6). It is possible, however,
that the Washington Supreme Court will disagree and find the
PRP untimely.

The Pace Court recognized the potential unfairness of a
petitioner attempting in good faith to exhaust his federal
claim only to find out years later that his petition was not
properly filed, and therefore that his federal petition is

untimely. Pace, 544 U.S. at 416.

A prisoner seeking state postconviction relief might
avoid this predicament, however, by filing a
"protective" petition in federal court and asking
the federal court to stay and abey the federal
habeas proceedings until state remedies are
exhausted. See Rhines v. Weber, ante, 544 U.S., at
278, 125 S. Ct. 1528, 1531, 161 L. Ed. 2d 440
(2005). A petitioner’s reasonable confusion about

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whether a state filing would be timely will

ordinarily constitute "good cause" for him to file

in federal court. Ibid. ("(I]£ the petitioner had

good cause for his failure to exhaust, his

unexhausted claims are potentially meritorious, and

there is no indication that the petitioner engaged

in intentionally dilatory tactics," then the

district court likely "should stay, rather than

dismiss, the mixed petition").
E.d at 416-17.

Mr. McNeil therefore has filed a protective petition in
this Court within one year of the date Miller was decided. He
has good cause to pursue the "stay and abey" procedure because
of the uncertainty that his state-court petition will toll the
federal statute of limitations.

B. MILLER APPLIES RETROACTIVELY.

1. Miller Places the Imposition of a Mandatory
Sentence of LWOP on a Juvenile Beyond the Power
of the Courts.

Under Teague v. Lane, 489 U.S. 288 (1989), a new rule will
apply retroactively if it "places certain kinds of primary,
private individual conduct beyond the power of the criminal
law-making authority to proscribe." Id. at 311 (citation and
internal question marks omitted). This exception applies "not
only [to] rules forbidding criminal punishment of certain
primary conduct but also rules prohibiting a certain category
of punishment for a class of defendants because of their status
or offense." Penry v. Lynaugh, 492 U.S. 302, 330 (1989),

abrogated on other grounds by Atkins v. Virginia, 536 U.S. 304

 

 

 

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(2002). An example of such a case is Graham v. Florida, --
U.S. -~-, 130 S. Ct. 2011, 176 L. Ed. 2d 825 (2010), which held
that the Eighth Amendment precludes a sentence of life without
parole for a juvenile who did not commit a homicide offense.
See, e.g., In re Sparks, 657 F.3d 258 (5th Cir. 2011) {holding
that Graham applies retroactively under the first Teague
exception). Court rulings subject to this exception are
sometimes referred to as "substantive." See Saffle v. Parks,
494 U.S. 484, 494-95, reh’g denied, 495 U.S. 924 (1990).

The first Teague exception should apply here because
Miller prohibit[s] a certain category of punishment for a class
of defendants because of their status or offense." Mandatory

LWOP is absolutely precluded for defendants who were under 18

at the time of the offense. Miller is therefore similar to

Graham v. Florida.
In Illinois v. Morfin, 2012 IL App. (lst) 103568, --

N.E.2d -- (2012), the intermediate appellate court found Miller

to be retroactive under the first Teague exception.?

[Wle find that Miller constitutes a new substantive
rule. While it does not forbid a sentence of life
imprisonment without parole for a minor, it does
require Tllinois courts to hold a sentencing hearing
for every minor convicted of first degree murder at

 

3 As discussed below, another division of the same
court found Miller to be retroactive under the second Teague
exception. Although the two Illinois opinions rely on
different exceptions to the Teague rule, neither expressly
rejects the analysis of the other.

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which a sentence other than natural life
imprisonment must be available for consideration.
Miller mandates a sentencing range broader than that
provided by statute for minors convicted of first
degree murder who could otherwise receive only

natural life imprisonment.
Id. at para. 56. In a concurring opinion, Judge Sterba further

noted that Miller is substantive because it "forbids a

mandatory sentence of life imprisonment for juveniles." Td. at

para. 65 (emphasis in original). Both of these points, of
course, apply equally to Washington's sentencing scheme.

The U.S. District Court for the Eastern District of

Michigan reached the same conclusion.

Moreover, this court would find Miller retroactive

on collateral review, because it iS a new
substantive rule, which "generally apply
retroactively." Schriro v. Summerlin, 542 U.S. 348,
351-52 (2004). “A rule is substantive rather than
procedural if it alters the range of conduct or the
class of persons that the law punishes." Id. at
353. "Such rules apply retroactively because they
‘necessarily carry a significant risk that a
defendant ... faces punishment that the law cannot

impose upon him.’" Id. at 352. Miller alters the
class of persons (juveniles) who can receive a
category of punishment (mandatory life without

parole).

Hill v. Snyder, 2013 WL 364198 at 3 n.2 (E.D. Mich. 2013). But
see Michigan v. Carp, 2012 WL 5846553 at p. 14,4 -- N.W.2d --

(2012) (Miller not substantive because it does not

categorically bar LWOP for juveniles).

 

4 Westlaw does not provide any paragraph or star
numbering for this case. The pinpoint citations here refer to
the page number when the case is printed out from Westlaw.

 

 

 

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This Court should follow the persuasive reasoning of the

Morfin and Hill opinions.

2. If Miller is Considered a "Procedural"
Ruling, Then as a Watershed Rule It Should
Be Applied Retroactively.

The second Teague exception applies to "watershed" rules
of constitutional criminal procedure. Teague, 489 U.S. at 311.

[I]n some situations it might be that time and
growth in social capacity, as well as judicial
perceptions of what we can rightly demand of the
adjudicatory process, will properly alter our
understanding of the bedrock procedural elements
that must be found to vitiate the fairness of a

particular conviction.
Id. (Court's emphasis) (quoting Mackey v. United States, 401
U.S. 667, 693-94 (1971})}). The Court continued:

In Desist,® Justice Harlan had reasoned that one of
the two principal functions of habeas corpus was "to
assure that no man has been incarcerated under a
procedure which creates an impermissibly large risk
that the innocent will be convicted," and concluded
"from this that all ‘new’ constitutional rules which
significantly improve the pre-existing fact-finding
procedures are to he retroactively applied on
habeas."

td. at 312. The Court believed it "desirable to combine the
accuracy element" from Desist with the "Mackey requirement that
the procedure at issue must implicate the fundamental fairness

of the trial." Id. In doing so the Court reconciled "concerns

about the difficulty in identifying both the existence and the

 

5 Desist v. United States, 394 U.S. 244, reh’g denied,
395 U.S. 931 (1969).

 

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value of accuracy-enhancing procedural rules by limiting

the scope of the second exception to those new procedures

without which the likelihood of an accurate conviction is

seriously diminished." Id. at 313.
Although the language in Teague focuses on convictions,

the Supreme Court has applied the "watershed" standard to

procedures concerning sentencing. See, e.g., Schriro v.

Summerlin, 542 U.S. 348, 355-57 (2004).
The U.S. Supreme Court has yet to hold that any case meets

the "watershed" exception. One reason for this, however, is

that the most fundamental rules of constitutional criminal

procedure were announced, and had already been applied

retroactively, prior to Teague. For example, in In re Winship,

397 U.S. 358 (1970), the Court first held that the due process

clause requires proof beyond a reasonable doubt in criminal and

juvenile delinquency proceedings. In Ivan V. v. City of New

York, 407 U.S. 203 (1972), the Court held that Winship applied

retroactively, using language nearly identical to the Teague

standard. Id. at 204-05 (a lower standard "substantially
impairs the truth-finding Function" while the beyond-a-~-

reasonable-doubt standard supports "that bedrock axiomatic and

elementary principle whose enforcement lies at the foundation

of the administration of our criminal law") (citations and

internal quotation marks omitted).

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Similarly, the fundamental right to confront a co-

defendant's statement incriminating the defendant, set out in

Bruton v. United States, 391 U.S. 123 (1968), was applied

retroactively in Roberts v. Russell, 392 U.S. 293, reh’g

denied, 393 U.S. 899 (1968). The Russell Court found that

Bruton "correct [ed] serious flaws in the fact-finding process

at trial," and "‘went to the basis of fair hearing and trial

because the procedural apparatus never assured the (petitioner)

a fair determination’ of his guilt or innocence." Id. at 294

(citations and internal quotation marks omitted). This

language suggests that Bruton would have passed the Teague test

as well.

On the other hand, Crawford v. Washington, 541 U.S. 36

(2004), was not retroactive under Teague. While Crawford

changed the constitutional standard for admission of hearsay

statements, it did not greatly increase the likelihood of an

accurate conviction because the previous standard required

"adequate indicia of reliability." See In re Markel, 154 Wn.2d

262, 273, 111 P.3d 249, 254 (2005) .®

The closest analog to Miller is the Supreme Court's ruling

in Woodson v. North Carolina, 428 U.S. 280 (1976), a case the

 

6 In fact, Crawford arguably decreased the accuracy of

trials because it expressly rejected reliability as a factor
f-court statements may be admitted

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at trial. Crawford, 541 U.S. at 61.

 

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Miller Court relied on.? Woodson overturned a statute

mandating the death penalty for any conviction of first-degree
murder. Id. at 305. This rule was promptly applied to all 129

prisoners on death row in North Carolina, regardless of the

procedural posture of their cases. See Cynthia F. Adcock, The

Twenty-Fifth Anniversary of Post-Furman Executions in North

Carolina: A History of One Southern State‘’s Evolving Standards

of Decency, 1 ELON L. Rev. 113, 119 (2009) .% Similarly, Sumner

v. Shuman, 483 U.S. 66 (1987), struck down mandatory death

sentences for defendants who commit murder while under sentence

of LWOP. See Miller, 132 S. Ct. at 2467. Tt likewise was

applied retroactively.” It does not appear that either

Woodson or Shuman was ever expressly tested under the Teague

standards.

Miller, like Woodson, is different from cases such as

 

7 See Miller, 132 S. Ct. at 2464.

8 Available at http: //www.elon.edu/docs/e-
web/law/law_review/Issues/Adcock.pdf.

9 See Campbell v. Blodgett, 978 F.2d 1502, 1512-13
(9th Cir.), reh’g granted, 978 F.2d 1519 (9th Cir. 1992),
reconsideration denied, 992 F.2d 984 (9th Cir. 1993

(determining merits of Shuman claim in case that became final
two years before Shuman was decided); Thigpen v. Thigpen, 926
F.2d 1003, 1005 (11th Cir.), reh’g denied, 933 F.2d 1023 {lith
Cir. 1991) (noting death sentence set aside on Shuman grounds
in federal habeas corpus case); McDougall v. Dixon, 321 F.2d
518, 530-31 (4th Cir. 1990), cert. denied, 501 U.S. 1223 (1991)
(determining merits of Shuman claim in case that became final

four years before Shuman decided).

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Crawford because it does not merely make an incremental

improvement to the accuracy of a proceeding. Rather, it

completely abolishes a mandatory sentencing scheme. No such

ruling has ever been tested under Teague. This Court should

find that the Miller ruling meets Teague's second exception.

First, Miller alters the "bedrock procedural elements" of

sentencing juveniles for aggravated murder. The current

Washington system contains no procedural safeguards since a

sentence of LWOP is automatic upon conviction for aggravated

murder. Miller replaces that with a system requiring

consideration of complex and individualized factors.

Second, the current system allows an “impermissibly large

risk" that a juvenile will be sentenced to LWOP, and the new

rule "significantly improve[s] the pre-existing fact-finding

procedures." Teague, 489 U.S. at 312. As the Miller Court

noted, "appropriate occasions for sentencing juveniles to this

harshest possible penalty will be uncommon." 132 S. Ct. at

2469. Thus in Washington, Miller changes the likelihood of a

juvenile convicted of aggravated murder receiving LWOP from

100% to nearly 0%. In other words, the Miller Court found that

the current system suffers not merely from the possibility of

erroneous sentences in some cases but the near certainty of

erroneous sentences in the vast majority of cases. In the

words of the Teague Court, wrhe likelihood of an accurate

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[sentence]" was "seriously diminished," 489 U.S. at 313, under

the sentencing scheme applied to Mr. McNeil.

Finally, the Miller ruling affects the "fundamental
fairness" of the proceeding. As the Court noted, the very
"hallmark features" of youth -- among them, immaturity,

impetuosity, failure to appreciate risks and consequences,

familial and peer pressures -- "put them at a significant

disadvantage in criminal proceedings." Miller, 132 8. Ct. at
2468. These feature may contribute to an inability to deal
with police officers or prosecutors (including on a plea

or even to assist his own attorneys, ultimately

Id.

agreement)

leading to greater charges than an adult might have faced.
Thus this Court should find that the “watershed” exception
applies here.

In Illinois v. Williams, 2012 IL App (1st) 111145, --
N.E.2d -- (2012), the Court found the watershed exception

applied to Miller. wMiller should be retroactively applied in

this case because it is a rule that ‘requires the observance of

those procedures that are implicit in the concept of ordered
liberty.’" Id. at § 52 (quoting Teague, 489 U.S. at 311).
Further, the Court found that Miller required a new procedure
twithout which the likelihood of an accurate conviction is

seriously diminished." Td. at § 53 (quoting Teague, 489 U.S.

at 313).

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Michigan v. Carp rejects the second Teague exception, but

its reasoning is flawed.?° The court believed that the

exception can apply only to procedures that affect the

conviction rather than the sentence. Id., 2012 WL 5846553 at
p. 14-15. The United States Supreme Court disagrees.

The second exception is for "watershed rules of
criminal procedure" implicating the fundamental
fairness and accuracy of the criminal proceeding.
See Teague, supra, 489 U.S., at 311, 109 S. ct., at
1076 (plurality opinion).

Saffle v. Parks, 494 U.S. 484, 495, reh’g denied, 495 U.S. 324

(1990) (emphasis added). In Saffle, the Supreme Court

considered whether the petitioner could rely on a new rule that

a capital sentencing jury must be permitted to consider

sympathy for the defendant. Id. at 485-86. The Court found

the second Teague exception relevant to that inquiry and

expressly addressed it, even though the new rule had nothing to

do with the defendant's conviction, Td. at 495. The Court

found that the exception was not satisfied, however, because

"{t}he objectives of fairness and accuracy are more likely to

be threatened than promoted" by consideration of sympathy."

 

10 A Florida intermediate appellate court also has
rejected retroactive application of Miller. Geter Vv. Florida,
Its analysis is not

2012 WL 4448860, -- So.3d -- (2012).
helpful, however, because Florida's unique retroactivity

standards bear Jittle relation to Teague. See Illinois v.
Williams at § 55 ("Although we disagree with the result of
Geter in that it held that Miller did not apply retroactively,
it also used a different standard of analysis than that found

in Teague").

MOTION TO STAY AND ABATE - 15
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Id.

Similarly, in Schriro v. Summerlin, supra, the Supreme
Court considered the new rule that juries rather than judges
must decide whether a defendant is eligible for the death
penalty. 542 U.S. at 349. The Court addressed the "watershed"
standard, finding that it was not satisfied because jury
findings were not necessarily more fair or accurate than judge

findings.

3, The United States Supreme Court Has Applied
Miller As Retroactively.

The Miller Court granted relief not only to Evan Miller
but also to Kuntrell Jackson, the petitioner in a consolidated
case. Miller, 132 8. Ct. at 2475. dJackson’s conviction had
become final in 2004, Jackson v. State, 359 Ark. 87, 194 S.W.2d
757 (Ark. 2004), and his case reached the Supreme Court after
the Arkansas Supreme Court affirmed the dismissal of his state
petition for habeas corpus. Jackson v. Norris, 2011 Ark. 49
(Ark, 2011), cert. granted sub nom. Jackson v. Hobbs, 132 S&S.
Ct. 538, 181 L. Ed. 2d 395 (2011). The Supreme Court will not
apply a new rule to a case on collateral review unless that
rule applies retroactively to all cases on collateral review.
See Penry v. Lynaugh, 492 U.S. 302, 313 (1989), abrogated on
other grounds by Atkins v. Virginia, 536 U.S. 304 (2002).

At least three court have found the resolution of

Jackson's case to support their conclusion that Miller applies

 

 

 

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retroactively. See Morfin at | 57; Williams at 4 54; Hill at
3n.2.
For the same reason, this Court should find Miller to be

retroactive.tt

CONCLUSION
This Court should enter an order staying and abating Mr.

McNeil’s 2254 petition pending the resolution in state court of

his pending personal restraint petition.
ete
DATED this 25 day of June, 2013.

Respectfully submitted,

/s/._Lenell Nussbaum

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di But gee Chambers v. State, 831 N.W.2d 311 (Minn.
2013).

 

 

 

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CERTIFICATE OF SERVICE

I, LENELL NUSSBAUM, hereby certify that on June 25, 2013,
I caused the foregoing document to be filed with the United
States District Court’s Electronic Case Filing (CM/ECF) system,
which will serve one copy of the foregoing document by email on
opposing counsel.

I further certify that on June 25, 2013, I caused a copy
of the foregoing document to be served in paper format on Mr.
Russell Duane McNeil, 957470, 11919 W. Sprague Ave., P.O. Box
1899, Airway Heights, WA 99011, and a courtesy copy on the
Corrections Division,

Washington Attorney General’s Office,

P.O, Box 40116, Olympia, WA 98504-0116, by depositing the same

in the United States Postal Service, postage prepaid.

/s/Lenell Nussbaum

LENELE, NUSSBAUM, WSBA No. 11140
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON COUNTY

RUSSELL DUANE McNEIL,

Petitioner, NO, 13-CV-3065-CT

[PROPOSED] ORDER

vs.
STAYING AND ABATING

MAGGIE MILLER-STOUT,

Respondent.

 

THIS MATTER having come before the undersigned judge upon
the Petitioner's motion to "stay and abate" the pending § 2254
petition, and the Court having considered the motion, the file,
and the position of the parties, now, therefore,

IT IS ORDERED that, because Petitioner has good cause for
his failure to exhaust the Eighth Amendment claims under Milier
v. Alabama, __—s UX“ Sw , «132: Ct. 2455, 183 L. Ed. 2d 407
(2012), now pending in the Washington State Supreme Court, No.
87654-1, because this unexhausted claim is potentially
meritorious, and because there is no indication that Petitioner
has engaged in dilatory litigation tactics, under Rhines v.
544 U.S. 269 (2005), the instant petition for relief

Weber,

under 28 U.S.C. § 2254 is stayed and abated until 45 days after

 

 

 

ORDER STAYING PETITION - 1 LENELL NUSSBAUM

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the final resolution by the Washington State Supreme Court of

the Miller claims.

DONE IN OPEN COURT this day of , 2013.

 

JUDGE

Presented by:

/s/ Lenell Nussbaum

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